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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

KIRA HORNE,

                   Plaintiff,                         Case No. 19-13724

v.                                                   Hon: Paul D. Borman

CITY OF DETROIT POLICE OFFICER
NATHAN MILLER and the CITY OF
DETROIT,

                   Defendants.


                            ORDER OF DISMISSAL



      IT IS HEREBY ORDERED that all claims against defendants in the above

captioned matter are dismissed with prejudice and without costs or attorney fees to

any party. All pending claims are hereby resolved, and this case is now closed.




                                                   s/Paul D. Borman
                                                   Paul D. Borman
                                                   United States District Judge
Stipulation to substance and form:

/s/Christopher S. Olsen                      /s/Michael M. Muller
Christopher S. Olsen (P-58780)               Michael M. Muller (P-38070)
Attorney for Plaintiffs                      Attorney for Defendants
